         Case 1:24-cv-08106-AS           Document 9        Filed 11/20/24       Page 1 of 3




Jon L. Norinsberg, Esq.
jon@norinsberglaw.com
                                                                        November 18, 2024
VIA ECF
Hon. Gary Stein
United States District Magistrate Judge
500 Pearl Street, Room 702
United States Courthouse
New York, NY 10007
(212) 805-6120
GSteinNYSDChambers@nysd.uscourts.gov

              Re: Turner v. Nightjar Holdings
                  Case No. 24-cv- 08106-AS
                  Letter Request for Extension of Time to File Answer
Dear Judge Stein

         Our office represents Plaintiff, Tavon Turner (“Plaintiff”) in the above-referenced
Americans with Disabilities Act (“ADA”) matter against Defendant, Nightjar Holdings, LLC
(“Defendant”) which was filed on October 24, 2024, and served upon the Defendant on October
28, 2024 (Docket No. 6). The Defendant's deadline to respond is November 18, 2024.

          Ms. Lauren Rudick, Esq., on behalf of Defendant, reached out to the undersigned via
email on November 15, 2024, to inform us that, “[t]hey were non-litigation counsel to Nightjar
Holdings, LLC,” requested that we acquiesce to a 30-day extension of time to submit their Answer;
and that the company “would be retaining litigation counsel who will enter an appearance.” This
is the Defendant’s first request for an extension, and we have no objection to such extension.

          We trust that the Court will find this letter sufficient to extend Defendant’s the time to
Answer the Complaint by 30-days, until December 18, 2024. We remain committed to resolving
this case promptly and will notify the Court upon reaching a resolution.

          We felt it prudent to bring this to the Court’s attention to ensure that all parties are aware
of the current representation status in this matter.
               Case 1:24-cv-08106-AS          Document 9        Filed 11/20/24    Page 2 of 3
                                                                                                   2


                 Thank you for your attention to this matter.

The request for an extension of time to answer the
                                                                         Respectfully submitted,
complaint is GRANTED.

                                                                   JOSEPH & NORINSBERG, LLC
This letter motion was addressed to Judge Stein, but no
referral order has been entered in this case. If the parties
wish to consent to conducting all further proceedings                    Sincerely,
before Judge Stein, they should submit to the Court
a fully executed Notice, Consent, and Reference of a
Civil Action to a Magistrate Judge, available at
https://www.nysd.uscourts.gov/sites/default/
                                                                        Jon L. Norinsberg, Esq.
files/2018-06/AO-3.pdf, and attached herein.
                                                                        Bennitta L. Joseph, Esq.
                                                                        Attorneys For Plaintiff
The Clerk of Court is respectfully directed to terminate
                                                                        110 East 59th Street,
the motion at ECF No. 8.                                                Suite 2300
                                                                        N.Y., N.Y. 10022
SO ORDERED.                                                             (212) 227-5700
                                                                        Fax No. (212) 656-1889
                                                                        jon@norinsberglaw.com
                                                                        bennitta@employeejustice.com

Arun Subramanian, U.S.D.J.
Date: November 20, 2024

      c.c.
      Lauren A. Rudick
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                       Case 1:24-cv-08106-AS                      Document 9                Filed 11/20/24       Page 3 of 3
AO 85 (Rev. 02/17) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                         UNITED STATES DISTRICT COURT
                                                                            for the


                                                                               )
                                 Plaintiff                                     )
                                    v.                                         )      Civil Action No.
                                                                               )
                               Defendant                                       )



           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment
may then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge
may exercise this authority only if all parties voluntarily consent.


        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without adverse
substantive consequences. The name of any party withholding consent will not be revealed to any judge who may otherwise
be involved with your case.


       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.


        Printed names of parties and attorneys                               Signatures of parties or attorneys                  Dates




                                                                    Reference Order

        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.



Date:
                                                                                                    District Judge’s signature



                                                                                                     Printed name and title

Note:     Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
          magistrate judge. Do not return this form to a judge.



         Print                           Save As...                                                                              Reset
